                 Case 24-10632-CTG              Doc 17      Filed 04/01/24        Page 1 of 3




                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE

 In re:                                                      Chapter 15

 Pride Group Holdings Inc., et al., 1                        Case No. 24-10632 (CTG)

                 Debtors in Foreign Proceedings.             (Joint Administration Requested)


              NOTICE OF APPEARANCE AND DEMAND FOR SERVICE OF PAPERS

          PLEASE TAKE NOTICE that the law firms of Chapman and Cutler LLP and Womble Bond

Dickinson (US) LLP hereby enter their appearances as counsel to Royal Bank of Canada, as Administrative

Agent (the “RBC”), in the above-captioned bankruptcy cases (the “Bankruptcy Cases”).

          PLEASE TAKE FURTHER NOTICE that the undersigned request that copies of all notices,

pleadings, and all other papers required to be served in the Bankruptcy Cases be served upon the following

persons, and that such persons be added to the mailing matrix in the Bankruptcy Cases:

 CHAMPMAN AND CUTLER LLP                                  WOMBLE BOND DICKINSON (US) LLP
 Michael T. Benz, Esquire                                 Matthew P. Ward, Esquire
 Stephen R. Tetro, II, Esquire                            Todd A. Atkinson, Esquire
 James P. Sullivan, Esquire                               1313 North Market Street, Suite 1200
 320 South Canal Street, 27th Floor                       Wilmington, Delaware 19801
 Chicago, IL 60606                                        Telephone: (302) 252-4320
 Telephone: (312) 845-2969                                Facsimile: (302) 252-4330
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        stetro@chapman.com
        jsullivan@chapman.com

 -and-




          1
             The last four digits of Debtor Pride Group Holdings Inc.’s Canadian business number are 6399. Due to the large
number of debtors in these chapter 15 cases, a complete list of the debtor entities and the last four digits of their unique
identification numbers is not provided herein. A complete list of such information may be obtained on the website of the
Debtors’ noticing agent at https://dm.epiq11.com/pridegroup. The Debtors’ service address for the purposes of these chapter
15 cases is 1450 Meyerside, Suite 401, Mississauga, Ontario, L5T 2N5, Canada.
               Case 24-10632-CTG           Doc 17     Filed 04/01/24     Page 2 of 3




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       PLEASE TAKE FURTHER NOTICE that the foregoing demand includes orders and notices of

any application, complaint, demand, motion, notice, petition, pleading, or request, whether formal or

informal, whether written or oral, and whether transmitted or conveyed by mail, overnight, hand-delivery,

telephone, electronically or otherwise filed or made with regard to the Bankruptcy Cases and proceedings

therein or which affects any of the Debtors or the property of the Debtors.

       PLEASE TAKE FURTHER NOTICE that neither this notice nor any later appearance, pleading,

claim, or suit shall waive any right (1) to have final orders in non-core matters entered only after de novo

review by a district judge, (2) to trial by jury in any proceeding so triable in these cases or in any case,

controversy, or proceeding related to this case, (3) to have the district court withdraw the reference in any

matter subject to mandatory or discretionary withdrawal, or (4) to any other rights, claims, actions, defenses,

setoffs, or recoupments to which the RBC, in any capacity, is or may be entitled under agreements, in law

or in equity, all of which rights, claims, actions, defenses, setoffs, and recoupments are expressly reserved.

 Dated: April 1, 2024                                WOMBLE BOND DICKINSON (US) LLP
 Wilmington, Delaware
                                                     /s/ Matthew P. Ward
                                                     Matthew P. Ward (Del. Bar No. 4471)
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                                                     -and-
               Case 24-10632-CTG   Doc 17   Filed 04/01/24    Page 3 of 3




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